      Case 2:20-cv-09604-KS Document 22 Filed 05/04/21 Page 1 of 1 Page ID #:41




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 8                            UNITED STATES DISTRICT COURT

 9                            CENTRAL DISTRICT OF CALIFORNIA

10                                  WESTERN DIVISION

11
     VERNON SMITH,                         Case No. 2:20-cv-09604-KS
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13              Plaintiff,                 [PROPOSED] ORDER FOR THE
                                           AWARD AND PAYMENT OF
14                       v.                ATTORNEY FEES AND EXPENSES
15                                         PURSUANT TO THE EQUAL ACCESS
   ANDREW SAUL, Commissioner of            TO JUSTICE ACT
16 Social Security,
17
              Defendant.
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19        Based upon the parties’ Stipulation for the Award and Payment of Equal Access
20 to Justice Act Fees and Expenses, IT IS ORDERED that fees and expenses in the
21 amount of $5,962.45 as authorized by 28 U.S.C. § 2412 be awarded subject to the terms
22 of the Stipulation.
23
24 DATE: May 4, 2021
                                         ____________________________________
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                                                KAREN L. STEVENSON
26                                       UNITED STATES MAGISTRATE JUDGE
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